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                            UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF ALABAMA
                                  NORTHERN DIVISION


 DEMONTRAY HUNTER, by and through his next
 friend, Rena Hunter; RUSSELL D. SENN, by and
 through his next friend, Irene Senn; TRAVIS S.
 PARKS, by and through his next friend, Catherine
 Young; VANDARIUS S. DARNELL, by and
 through his next friend, Bambi Darnell; FRANK
 WHITE, JR., by and through his next friend, Linda
 White; MARCUS JACKSON, by and through his
 next friend Michael P. Hanle; TIMOTHY D.
 MOUNT, by and through his next friend, Dorothy
 Sullivan; HENRY P. MCGHEE, by and through his         CASE NO. 2:16-cv-00798-MHT-CSC
 next friend, Barbara Hardy, individually and on
 behalf of all others similarly situated; and the
 ALABAMA         DISABILITIES       ADVOCACY                   CLASS ACTION FOR
 PROGRAM,                                                      DECLARATORY AND
                                                               INJUNCTIVE RELIEF
       Plaintiffs,

 v.

 LYNN T. BESHEAR, in her official capacity as
 Commissioner of the Alabama Department of
 Mental Health,

       Defendant.


                     NOTICE OF SUBMISSION OF MONITORING REPORT

       The Alabama Disabilities Advocacy Program, as the monitor designated in the Consent

Decree entered in this action, ECF No. 94, hereby gives notice of its submission of the monitoring

report for the February 1, 2019 through April 30, 2019 monitoring period on May 9, 2019.

Dated: May 9, 2019                   Respectfully submitted,

                                      /s/ M. Geron Gadd___________________________________
                                      M. Geron Gadd (ASB-0601-J98S)
                                      ALABAMA DISABILITIES ADVOCACY PROGRAM
                                      400 South Union Street, Suite 280
Case 2:16-cv-00798-MHT-CSC Document 127 Filed 05/09/19 Page 2 of 3



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                         Lonnie J. Williams (ASB-2866-I35W)
                         Shandra N. Monterastelli (ASB-1016-N00Q)
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                                lwilliams@adap.ua.edu




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                                CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that I have caused a true and correct copy of the foregoing

to be served on the counsel of record listed below by filing same with the Clerk of Court via the

CM/ECF system this 9th day of May, 2019.

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                                                      /s/ M. Geron Gadd_____________
                                                      M. Geron Gadd (ASB-0601-J98S)
                                                      Alabama Disabilities Advocacy Program




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